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                             No. 2022-2207

          United States Court of Appeals
              for the Federal Circuit
                        INTELLECTUAL TECH LLC,
                                         Plaintiff - Appellant

                                    v.

              ZEBRA TECHNOLOGIES CORPORATION,
                                    Defendant - Appellee

               Appeal from the United States District Court
                   for the Western District of Texas
                 No. 19-cv-628, Hon. Alan D. Albright


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                            CERTIFICATE OF INTEREST
Case Number         2022-2207

Short Case          Intellectual Tech LLC v. Zebra Technologies Corporation
Caption

Filing Party/       Appellee / Zebra Technologies Corporation
Entity


I certify the following information and any attached sheets are accurate and
complete to the best of my knowledge.

                                               /s/ William R. Peterson
                                               William R. Peterson
                                               Counsel for Appellee
                                               Zebra Technologies Corporation

                                               Dated: April 24, 2023

 1. Represented Entities.      2. Real Party in                   3. Parent Corporations
 Fed. Cir. R. 47.4(a)(1).      Interest.                          and Stockholders.
                               Fed. Cir. R. 47.4(a)(2).           Fed. Cir. R. 47.4(a)(3).

 Provide the full names of     Provide the full names of          Provide the full names of
 all entities represented by   all real parties in interest       all parent corporations for
 undersigned counsel in        for the entities. Do not           the entities and all
 this case.                    list the real parties if it are    publicly held companies
                               the same as the entities.          that own 10% or more
                                                                  stock in the entities.
                                None/Not Applicable
                                                                   None/Not Applicable

 Zebra Technologies                                               BlackRock Inc.
 Corporation




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4. Legal Representatives. List all law firms, partners, and associates that (a) appeared for the
entities in the originating court or agency or (b) are expected to appear in this court for the
entities. Do not include those who have already entered an appearance in this court. Fed. Cir.
R. 47.4(a)(4).

     Calvin M. Brien                 Hersh H. Mehta                Elizabeth M. Chiaviello
                                  (Formerly of Morgan,
                                  Lewis & Bockius LLP)

      Jason C. White                 Kandis C. Gibson               Stephanie L. Roberts


5. Related Cases. Provide the case titles and numbers of any case known to be
pending in this court or any other court or agency that will directly affect or be
directly affected by this court’s decision in the pending appeal. Do not include
the originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed.
Cir. R. 47.5(b).

Intellectual Tech LLC v. Zebra Technologies Corp., Case No. 6:22-cv-00788-
ADA (WDTX)


6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

 None/Not Applicable




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                        STATEMENT OF RELATED CASES
      Pursuant to Federal Circuit Rule 47.5(a), counsel for Zebra Technologies

Corporation certifies that no other appeal in or from the underlying case has been

previously before this or any other appellate court.

      Pursuant to Federal Circuit Rule 47.5(a), the following pending case will be

directly affected by this Court’s decision in the pending case: Intellectual Tech LLC

v. Zebra Technologies Corp., No. 6:22-cv-00788-ADA (W.D. Tex).




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                          JURISDICTIONAL STATEMENT
      The district court correctly determined that it lacked jurisdiction over IT’s

claims because IT lacked standing under Article III. It had the jurisdiction to make

this determination because “a federal court always has jurisdiction to determine its

own jurisdiction.” United States v. Ruiz, 536 U.S. 622, 628 (2002). Appellee is

otherwise satisfied with Appellant’s jurisdictional statement.




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                           STATEMENT OF THE ISSUES
      Whether the district court correctly dismissed Intellectual Tech LLC’s patent

infringement claim for lack of Article III standing.




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                           STATEMENT OF THE CASE
      This appeal arises from Intellectual Tech LLC’s attempt to sue Zebra

Technologies Corporation for infringement of U.S. Patent No. 7,233,247 (“the ’247

Patent”) in October 2019. Intellectual Tech LLC’s parent, OnAsset Intelligence,

Inc., purported to assign the ’247 Patent to Intellectual Tech LLC (“IT”) in June

2017. Appx6-7; Appx312. But as the district court recognized, OnAsset could not

transfer exclusionary rights to IT because those rights belonged to Main Street

Capital Corporation as a result of OnAsset’s default on a loan agreement (“the 2011

Loan Agreement”).     Appx392; see also Appx229-237 (“the 2011 Patent and

Trademark Security Agreement”).

      Although there is a complex history of rights and agreements between IT,

OnAsset, and Main Street, Appx2, the district court’s dismissal for lack of

constitutional standing relied on the 2011 Patent and Trademark Security

Agreement. Appx5-9; Appx13-15. IT raises on appeal narrow issues concerning

(1) whether the transfer of exclusionary rights to Main Street deprived IT of

constitutional standing; and (2) the meaning of the 2011 Patent and Trademark

Security Agreement’s power of attorney provision. Zebra thus focuses on the facts

necessary to understand these issues.




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      OnAsset and the ’247 Patent

      The ’247 Patent is titled “Method and System for Employing RFID Tags in

Automated Applications.” Appx27. When the ’247 Patent issued in 2007, its

assignee was SAVR Communication, Inc. Appx27; Appx139. In 2008, SAVR

Communications, Inc. assigned the ’247 Patent to OnAsset. Appx139.

      OnAsset Pledges the ’247 Patent as Collateral for a Loan

      In April 2011, OnAsset and Main Street entered into the 2011 Loan

Agreement, in which OnAsset borrowed $3 million from Main Street. Appx399.

As security for this loan, OnAsset executed the 2011 Patent and Trademark Security

Agreement, Appx229, which provided Main Street with a security interest in

OnAsset’s patents, specifically including the ’247 Patent:

             2.   Security Interest. [OnAsset] hereby pledges, and grants to
      Secured Party a security interest (the “Security Interest”), for the
      ratable benefit of [Main Street], with power of sale to the extent
      permitted by law, in the Patents and in the Trademarks to secure
      payment of the Obligations.

Appx230; see also Appx229 (defining “Patents” as “including without limitation the

patents listed on Exhibit A”); Appx236 (Exhibit A: listing U.S. Patent No.

7,233,247).

      The Agreement defines “Patents” broadly, to include not only the patents

themselves but also “licenses” and the right to seek damages:

      “Patents” means all of Debtor’s right, title and interest in and to patents
      or applications for patents, fees or royalties with respect to each, and
      including without limitation the right to sue for past infringement and

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      damages therefor, and licenses thereunder, all as presently existing or
      hereafter arising or acquired, including without limitation the patents
      listed on Exhibit A attached hereto.

Appx229.

      OnAsset promised that it would “not assign, transfer, encumber or otherwise

dispose of the Patents or Trademarks, or any interest therein, without [Main Street’s]

prior written consent.” Appx231. Otherwise, “so long as no Default exist[ed],”

OnAsset could “control and manage the Patents and Trademarks, including the right

to exclude others from making, using or selling items covered by the Patents.”

Appx232.

      But the parties’ rights changed significantly if a “Default” (“as defined in the

[2011] Loan Agreement,” Appx232) occurred. While a Default existed, Main

Street—not OnAsset—had the right to “sell, assign, transfer, . . . or otherwise

dispose of the Patents,” including “enforc[ing] the Patents . . . and any licenses

thereunder”:

             6.     Remedies. While a Default exists, [Main Street] may, at
      its option, take any or all of the following actions:
                     (a) [Main Street] may exercise any or all remedies
               available under the Loan Agreement.
                    (b) [Main Street] may sell, assign, transfer, pledge,
               encumber or otherwise dispose of the Patents and Trademarks.
                      (c) [Main Street] may enforce the Patents and
               Trademarks and any licenses thereunder, and if [Main Street]
               shall commence any suit for such enforcement, [OnAsset] shall,
               at the request of [Main Street], do any and all lawful acts and



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              execute any and all proper documents required by [Main Street]
              in aid of such enforcement.

Appx232.

      In addition to requiring OnAsset to execute documents in aid of Main Street’s

rights, the 2011 Patent and Trademark Security Agreement expressly gave Main

Street power of attorney to facilitate Main Street’s “exercising its rights under

Section 6”:

             (j)     Power of Attorney. To facilitate [Main Street’s] . . .
      exercising its rights under Section 6, [OnAsset] hereby irrevocably
      appoints . . . [Main Street] as the attorney-in-fact of [OnAsset] with the
      right (but not the duty) from time to time while a Default exists to
      create, prepare, complete, execute, deliver, endorse or file, in the name
      and on behalf of Debtor, any and all . . . agreements and writings . . .
      necessary for [Main Street], while a Default exists, to enforce or use the
      Patents or Trademarks or to grant or issue any exclusive or
      non-exclusive license under the Patents or Trademarks to any third
      party[.]

Appx231-232.1

      The 2011 Loan Agreement also gave Main Street the potential to possess

unfettered authority over the ’247 Patent: if a default occurred, Main Street had the

right “to take control of, sell, lease, license or otherwise dispose of [OnAsset’s

collateral],” Appx488-489, including the ’247 Patent. Appx477.


1
  In addition to exercising the power of attorney to facilitate the exercise of its rights
under Section 6, Main Street also could use the power of attorney to facilitate
recovering money from OnAsset if, for example, Main Street was forced to incur
costs to prevent abandonment of a patent. See Appx231-232 (2011 Patent and
Trademark Security Agreement §§ 3(h), (i), (j)).

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      Neither party has disputed that both agreements are governed by Texas law.

Appx6 n.1; see also Appx233 (Texas choice-of-law clause); Appx466 (Texas

choice-of-law clause).

      OnAsset Defaults and, While the Default Exists, Assigns the ’247 Patent to
      IT

      In April 2013, Main Street issued a notice of default to OnAsset. Appx6;

Appx510-512. OnAsset’s defaults included (i) failure to pay the debt and accrued

interest; (ii) failure to deliver audited annual financial statements; and (iii) failure to

comply with the loan agreement’s earning requirements. Appx140. As the district

court recognized, “There is no dispute that OnAsset defaulted.” Appx6.

      In June 2017, with the default still uncured, OnAsset and Main Street entered

into a “forbearance agreement,” which required that OnAsset attempt to monetize

the ’247 patent.2 Appx6. OnAsset simultaneously formed a subsidiary, Appellant

IT, to which it assigned the ’247 Patent. Appx6-7; Appx312.

      After IT Files Suit, Zebra Moves to Dismiss for Lack of Standing

      IT sued Zebra for infringement of the ’247 Patent in October 2019. Appx8;

Appx67. Zebra then moved to dismiss for lack of standing under Rule 12(b)(1) and

Rule 12(c). Appx223. The district court denied the motion, finding that IT is “the


2
  The district court held “that the 2017 Forbearance Agreement did not act to revert
Main Street’s rights in the ’247 patent to IT” and its terms “unequivocally provide
that Main Street was merely forbearing ‘any exercise and enforcement of such
rights.’” Appx8. IT does not challenge this holding on appeal.

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rightful owner of the ’247 patent, retains the right to enforce the patent, and thus has

constitutional and statutory standing.” Appx300.

      Zebra Successfully Renews Its Motion After Obtaining Discovery

      After the order denying its motion, Zebra conducted discovery into whether

IT or OnAsset defaulted on the 2011 Loan Agreement and whether any defaults had

been waived or cured. Appx332-333; Appx374-375. Zebra moved for summary

judgment for lack of standing in view of the facts confirmed by this discovery.

Appx302.

      Discovery revealed that there were multiple defaults under the 2011 Loan

Agreement and that the defaults still had not been cured or waived. Appx309.

Because of these defaults, Zebra explained, “ownership in the ’247 Patent—or, at

the very least, all substantial rights in the ’247 Patent—automatically transferred to,

and remain with, Main Street and preclude IT from establishing constitutional or

statutory standing.” Appx309-310.

      The district court granted-in-part-as-modified and denied-in-part-as-moot

Zebra’s motion, Appx2, which it treated as a renewed motion to dismiss under Rule

12(b)(1), Appx5.

      The district court concluded that IT lacked constitutional standing when it

filed this action because it lacked exclusionary rights under the ’247 Patent.

Appx13-15. Any rights transferred from OnAsset to IT in 2017 were “subject to



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Main Street’s rights under Section 6 of the 2011 Patent and Trademark Security

Agreement” because of OnAsset’s default in 2013.           Appx8.     “Main Street’s

possession of those rights was uninterrupted from at least April 9, 2013, when it

issued its notice of default to OnAsset.” Appx8.

      The district court rejected IT’s argument that it must have constitutional

standing because “title to the ’247 patent did not pass automatically” to Main Street

on default. Appx9. Even if IT retained the title to the patent, “other rights in the

’247 patent” passed to Main Street, and “the rights Main Street received deprived IT

of those exclusionary rights critical to constitutional standing.” Appx9.

      Because it determined that IT lacked constitutional standing, the district court

did not address Zebra’s arguments regarding prudential standing. Appx15.

      The District Court Denies IT’s Motion for Reconsideration.

      IT moved for reconsideration, Appx581, which the court denied, Appx17.

The district court explained that IT’s briefing erroneously returned, “again and

again, to whether Main Street . . . ever deprived IT of title to the ’247 patent.”

Appx21. But, as the court explained, “[t]hat is not the critical question.” Appx21.

      The relevant question was “whether Main Street received rights upon IT’s

default that deprived IT—the undisputed title holder—of exclusionary rights.”

Appx21. With respect to that question, IT had not given the court “any reason to

reconsider” its order dismissing the case. Appx23.



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This appeal followed. Appx611.




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                          SUMMARY OF THE ARGUMENT
      The district court correctly held that IT lacked constitutional standing when it

filed this action against Zebra in October 2019. IT did not hold the necessary

exclusionary rights in the patent to meet the injury-in-fact requirement of Article III.

Those exclusionary rights belonged to Main Street.

      As the district court recognized, following the default, Main Street’s rights in

the ’247 Patent included the unfettered right to license it to any third party, including

Zebra. Main Street could exercise that right without limitation unless and until Main

Street waived its rights or OnAsset cured its default—neither of which ever

occurred. In arguing to the contrary, IT misreads the parties’ agreement and the

power of attorney granted to Main Street. Because Main Street had the unfettered

right to license the ’247 Patent, IT did not hold exclusionary rights. Without

exclusionary rights, IT could not be injured by any alleged infringement.

      In addition, the 2011 Patent and Trademark Security Agreement did not

merely give Main Street the right to sublicense the ’247 Patent. OnAsset’s default

transferred to Main Street the exclusive right to license. After the default, OnAsset

(and IT) did not have the right to license a third party’s making, using, or selling the

patented invention, and those rights belonged to Main Street alone. As a result,

regardless of the correctness of the Uniloc district court decision, IT lacked

constitutional standing to assert claims for infringement.



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      On either ground, this Court should affirm the district court’s judgment

dismissing the case for lack of standing.




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                              STANDARD OF REVIEW
      This Court reviews de novo the ultimate question whether IT had Article III

standing. WiAV Sols. LLC v. Motorola, Inc., 631 F.3d 1257, 1263 (Fed. Cir. 2010).

“To the extent [any] jurisdictional facts are in dispute, however, the findings of fact

are reviewed for clear error.” Abraxis Bioscience, Inc. v. Navinta LLC, 625 F.3d

1359, 1363 (Fed. Cir. 2010) (alteration in original); Hewlett-Packard Co. v.

Acceleron LLC, 587 F.3d 1358, 1361 (Fed. Cir. 2009) (reviewing rulings on subject

matter jurisdiction de novo and underlying factual findings for clear error).

      To the extent the 2011 Patent and Trademark Security Agreement must be

interpreted, the district court’s interpretation of an unambiguous contract is a

question of law reviewed de novo. Luminara Worldwide, LLC v. Liown Elecs. Co.,

814 F.3d 1343, 1347 (Fed. Cir. 2016).




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                                     ARGUMENT
I.    The District Court Correctly Held that IT Lacked Standing.

      The district court correctly held that IT lacked Article III standing when it

sued Zebra in October 2019.

      There are two ways to reach this conclusion, and this Court can affirm on

either ground. First, as the district court recognized, IT lacked standing because

Main Street had the unfettered right to sublicense the ’247 Patent. Because IT had

no right to exclude third parties from practicing the patent, it could not be injured by

any third party’s alleged infringement, and it lacked standing to enforce the patent.

      Second, IT did more than allow Main Street to sublicense the ’247 Patent; it

transferred the right to license entirely to Main Street. Following OnAsset’s default,

Main Street possessed the exclusive right to license the ’247 Patent. OnAsset—from

which IT derived its rights—could manage the patent only “so long as no Default

exist[ed].” Appx232. Even if granting a third party the unfettered right to sublicense

a patent would not, on its own, deprive the patent owner of Article III standing, a

patent owner who cannot license the patent necessarily lacks standing.

      A.     Article III Standing Requires Injury-in-Fact, Traceability, and
             Redressability.

      Two types of standing are at issue in patent infringement suits: statutory and

constitutional. “Statutory” standing is governed by Section 281 of the Patent Act,

which provides that only “a ‘patentee’ has standing to pursue a patent infringement


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action.” Alps S., LLC v. Ohio Willow Wood Co., 787 F.3d 1379, 1382 (Fed. Cir.

2015) (citing 35 U.S.C. § 281; H.R. Techs, Inc. v. Astechnologies, Inc., 275 F.3d

1378, 1384 (Fed. Cir. 2002)). This Court has held that the “patentee” for these

purposes includes an entity with “all substantial rights” under the patent. E.g.,

Speedplay, Inc. v. Bebop, Inc., 211 F.3d 1245, 1250 (Fed. Cir. 2000) (“A party that

has been granted all substantial rights under the patent is considered the owner

regardless of how the parties characterize the transaction that conveyed those

rights.”).

       Although Zebra challenged IT’s statutory standing, the district court did not

address the issue and, if necessary, would need to do so on remand. See Appx15

(“Given its holding as to constitutional standing, the Court need not address Zebra’s

prudential standing challenge.”). This appeal concerns constitutional standing,

which derives from Article III’s case-or-controversy requirement. To possess

constitutional standing, a plaintiff must “have (1) suffered an injury in fact, (2) that

is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to

be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330,

338 (2016) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)).

       Whether a party has standing to assert a claim for patent infringement depends

on which of the “sticks from the bundle of patent rights” it possesses. Ortho Pharm.

Corp. v. Genetics Inst., Inc., 52 F.3d 1026, 1031 (Fed. Cir. 1995).



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       This Court recognizes that a party with the bundle’s “exclusionary rights”—

defined as “the right to prevent others from practicing the invention,” Morrow v.

Microsoft Corp., 499 F.3d 1332, 1340 (Fed. Cir. 2007)—“suffers a legally

cognizable injury when an unauthorized party encroaches upon those rights and

therefore has standing to sue.” WiAV, 631 F.3d at 1264–65.3

       B.     Because Main Street Had the Unfettered Right to License the ’247
              Patent, IT Lacked Article III Standing.

       Here, IT lacked Article III standing because it lacked the right to prevent third

parties from practicing the ’247 Patent. Main Street had an unfettered right to license

the patent to third parties.

              1.     After OnAsset defaulted, Main Street acquired the
                     unfettered right to license the ’247 Patent.

       As the district court recognized, as of October 22, 2019, when IT filed this

action, “Main Street possessed an unfettered right to license the ’247 patent.”

Appx13.

       OnAsset’s 2013 default triggered Main Street’s rights under Section 6 of the

2011 Patent and Trademark Security Agreement. Appx232. While a default existed,

Main Street had the right to “sell, assign, transfer, pledge, encumber or otherwise




3
 See also Lone Star Silicon Innovations LLC v. Nanya Tech. Corp., 925 F.3d 1225,
1234 (Fed. Cir. 2019) (“[T]hose who possess ‘exclusionary rights’ in a patent suffer
an injury when their rights are infringed.”); Luminara, 814 F.3d at 1347 (“[O]nly
parties with exclusionary rights to a patent may bring suit for patent infringement.”).

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dispose of [the] Patents.” Appx232. Not only was “Patents” defined to include the

patents themselves—including the ’247 Patent—but it also included both the right

to seek damages and “licenses.” Appx229.

      In addition, Section 3(j) empowered Main Street with the power of attorney

“while a Default exists, to enforce or use the Patents or Trademarks or to grant or

issue any exclusive or non-exclusive license under the Patents or Trademarks to any

third party.” Appx231-232. Similarly, under the 2011 Loan Agreement, if a default

occurred, Main Street had the right “to take control of, sell, lease, license or

otherwise dispose of [OnAsset’s collateral],” Appx488-489 (emphasis added),

including the ’247 Patent, Appx477.

      Under these provisions, once a default occurred, Main Street had the right—

without any limit—to license the ’247 Patent to third parties.          See Appx22.

OnAsset’s consent was not required for Main Street to license the ’247 Patent. Nor

was there any limit on which (or how many) third parties to which Main Street could

license the ’247 Patent.

      The district court correctly concluded that IT received the ’247 Patent from

OnAsset “subject to Main Street’s rights.” Appx8. As this Court has made clear,

“an owner or licensee of a patent cannot convey that which it does not possess.”

Prima Tek II, L.L.C. v. A-Roo Co., 222 F.3d 1372, 1382 (Fed. Cir. 2000) (citation

omitted). It is a longstanding principle that “the assignee of a patent right takes it



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subject to the legal consequences of the previous acts of the patentee.” Worley v.

Loker Tobacco Co., 104 U.S. 340, 344 (1881). Under these principles, when

OnAsset assigned the ’247 Patent to IT in June 2017, IT received only the rights that

OnAsset possessed (and received thus it subject to Main Street’s rights).

      Main Street continued to possess the right to license the ’247 Patent through

the date that IT filed this action. Under the 2011 Patent and Trademark Security

Agreement, Main Street’s rights would revert only if Main Street waived them or

OnAsset cured its default—neither of which occurred. Appx8; Appx316; Appx550-

551. As a result, when IT filed this action in October 2019, Main Street still

possessed the unfettered right to license the ’247 Patent. Appx8.

      IT, in other words, had no monopoly over practicing the ’247 Patent. The

district court correctly held that “Main Street’s rights deprived IT of an exclusionary

right at the time IT filed this Action.” Appx13.

             2.     IT misreads the power of attorney.

      IT argues that Main Street did not obtain an unfettered right to license the ’247

Patent because any exercise of Main Street’s right under the power of attorney would

be “in the name of and on behalf of” IT pursuant to Section 3(j) of the 2011 Patent

and Trademark Security Agreement. IT Br. 13-15, 18-21.

      Relying on Texas cases involving the power of attorney and general rules

regarding agency, IT contends that because Main Street could “only act ‘in the name



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and on behalf of’ Intellectual Tech, . . . Intellectual Tech has not given up any

exclusionary rights.” IT Br. 18 (citing Holloway v. Skinner, 898 S.W.2d 793, 795

(Tex. 1995), for the proposition that the acts of an agent are the acts of a principal).

      IT is incorrect. Texas law recognizes that a power of attorney may be used

for different purposes. For example, one case cited by IT involved the use of a

power of attorney to manage the affairs of disabled or incapacitated persons. See

Comerica Bank-Tex. v. Tex. Commerce Bank Nat. Ass’n, 2 S.W.3d 723, 725 (Tex.

App.—Texarkana 1999, pet. denied) (discussing the “Durable Power of Attorney

Act,” which allows for a “springing” power of attorney that commences when the

principal becomes disabled); Tex. Estates Code § 751.001 et seq. (Durable Power of

Attorney Act).

      But this case involves an entirely different use of a power of attorney. Here,

a creditor (Main Street) was given a power of attorney so that the creditor could

protect its own rights. The Durable Power of Attorney Act—and its imposition of a

fiduciary duty, Tex. Estates Code § 751.101—do not apply to these transactions. See

Tex. Estates Code § 751.0015(1) (“This subtitle applies to all durable powers of

attorney except: (1) a power of attorney to the extent it is coupled with an interest in

the subject of the power, including a power of attorney given to or for the benefit of

a creditor in connection with a credit transaction[.]”). OnAsset gave a power of

attorney to Main Street, a creditor, in connection with a credit transaction.



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      This is not uncommon. Texas law allows creditors to protect themselves using

a power of attorney that is triggered upon a default.4 E.g., BankDirect Cap. Fin.,

LLC v. Plasma Fab, LLC, 519 S.W.3d 76, 78 (Tex. 2017) (“The agreement between

BankDirect and Plasma Fab included a power-of-attorney clause that gave

BankDirect authority, upon Plasma Fab’s default, to cancel the insurance policy,

collect the unearned premiums from Scottsdale, and apply them to the loan

balance.”); S. Cnty. Mut. Ins. v. Sur. Bank, N.A., 270 S.W.3d 684, 686 (Tex. App.—

Fort Worth 2008, no pet.) (“Scotts Temple appointed Surety Bank its ‘attorney-in-

fact . . . with full authority upon any default to cancel [the Policy] . . . and receive

all sums resulting therefrom.’” (omissions and alterations in original)); Republic Ins.

Co. v. Inverness Ests., 252 S.W.2d 251, 252 (Tex. App.—Fort Worth 1952, writ

ref’d) (“Paragraph 7 of the assignment empowers the Bank to act as attorney in fact

for Prendergast ‘for and in our behalf in notifying the Insurance Company of a

default and demanding cancellation of the policy[.]’”). In these circumstances, the

creditor is using the power of attorney to protect its own interests and its own rights,

not at another’s direction and not to protect another’s rights.




4
 There are limits on the use of powers of attorneys granted in a credit agreement.
For example, “A lender may not take a confession of judgment or a power of attorney
authorizing the lender or a third person to confess judgment or to appear for a
borrower in a judicial proceeding.” Tex. Fin. Code § 342.504.

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      Under Texas law, even where a power of attorney exists, where there is no

control, there is no agency relationship:

      It is essential to an agency relationship, however, that the principal have
      the right to “assign the agent’s task and to control the means and details
      of the process by which the agent will accomplish the task.” Thus, even
      if a person acts for and on behalf of another, if he is not under the other
      person’s control, an agency relationship does not exist. The agreements
      between the parties contain provisions that make LMG Lightner’s
      attorney-in-fact for the collection of fees. Although the appointment of
      an attorney-in-fact ordinarily creates an agency relationship, there is no
      agency relationship here because there is no evidence LMG was under
      Lightner’s control.

Laredo Med. Grp. v. Lightner, 153 S.W.3d 70, 72 (Tex. App.—San Antonio 2004,

pet. denied) (en banc) (quoting Walker v. Fed. Kemper Life Assurance Co., 828

S.W.2d 442, 452 (Tex. App.-San Antonio 1992, writ denied)) (internal citations

omitted).5



5
  See also Moni Pulo Ltd. v. Trutec Oil & Gas, Inc., 130 S.W.3d 170, 177 (Tex.
App.—Houston [14th Dist.] 2003, pet. denied) (“While Brass and its representatives
had Moni Pulo’s limited power of attorney to conduct all banking activities, this did
not make them Moni Pulo’s agents for jurisdictional purposes; there is no evidence
it could control or direct any of their actions, and the documents taken as a whole
(including the power of attorney) indicate just the opposite.”); Cardinal Health Sols.,
Inc. v. Valley Baptist Med. Ctr., 643 F. Supp. 2d 883, 886, 892 (S.D. Tex. 2008)
(holding, as a matter of law, that no agency relationship existed despite a power of
attorney for the “purposes of ordering and purchasing controlled substances on [a
health care facility’s] behalf”). Such a power of attorney is irrevocable: “[T]his
power [of attorney] was coupled with an interest in the subject matter. The contract
shows on its face that it is a power invested in the mortgagee for the purpose of
safeguarding its own interest and cannot be revoked by the principal or mortgagor.”
Nelson v. Consumers Cnty. Mut. Ins. Co., 326 S.W.2d 535, 538 (Tex. App.—San
Antonio 1959, writ dism’d).

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      This analysis applies directly to the facts of this case. Upon the occurrence of

a default, Main Street immediately acquired rights over OnAsset’s patents, including

the right to “sell, assign, transfer, pledge, encumber or otherwise dispose of the

Patents,” Appx232; to “enforce the Patents . . . and any licenses thereunder,”

Appx232; and to “sell, lease, license or otherwise dispose of [them],” Appx488-489

(“Loan Agreement”); see also Appx232 (allowing Main Street “to exercise any or

all remedies available under the Loan Agreement”).

      The 2011 Patent and Trademark Security Agreement granted Main Street a

power of attorney so that Main Street could protect Main Street’s rights, i.e., “[t]o

facilitate [Main Street’s] . . . exercising its rights under Section 6.” Appx231. The

Agreement does not grant OnAsset (or its subsidiary Appellant IT) any control over

Main Street’s exercise of its power of attorney, and such control would be

inconsistent with the power of attorney’s purpose to allow Main Street to protect

Main Street’s interests and exercise Main Street’s rights under Section 6.

      IT misunderstands the significance of Main Street’s rights under Section 6 of

the 2011 Patent and Trademark Security Agreement and the power of attorney.

Following the Default, Main Street had the right to “enforce,” “sell, assign, transfer,

pledge, encumber or otherwise dispose of the Patents” (where “Patents” is defined

to include the ’247 Patent), grant licenses to the ’247 Patent, and sue for infringement

of the ’247 Patent.     The power of attorney merely facilitates Main Street’s



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enforcement of these rights. Following the default, Main Street possessed the

unfettered right to license the ’247 Patent, not subject to any control or limitation by

IT or its parent, OnAsset.

             3.     Because of Main Street’s unfettered right to license, IT could
                    not exclude third parties from practicing the ’247 Patent and
                    thus lacked standing.

      As the district court explained, the right of Main Street to license the patent

“deprived IT of an exclusionary right at the time IT filed this Action.” Appx13.

Because any third party (including Zebra) “had the ‘ability to obtain’ a license to the

’247 patent from Main Street,” “IT could not have an exclusionary right against

Zebra sufficient to engender Article III standing here.” Appx13-14.

      IT did “not hold the necessary exclusionary rights,” so it was “not injured by

a party that makes, uses, or sells the patented invention.” Morrow, 499 F.3d at 1341.

It thus fails to “meet the injury in fact requirement” necessary for constitutional

standing. Id. at 1340-41.

      Because it had no ability to prevent or restrict Main Street from licensing the

patent to third parties, IT was in effectively the same position as a nonexclusive

licensee and thus “suffer[ed] no legal injury from infringement.” Intell. Prop. Dev.,

Inc. v. TCI Cablevision of Cal., Inc., 248 F.3d 1333, 1345 (Fed. Cir. 2001); see also

id. (holding that the patent owner’s “right to grant similar licenses to other entities”

means that a licensee lacks “constitutional standing” to sue for infringement).



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      The lack of redressability confirms the absence of standing. Because of Main

Street’s unfettered right to license the patent, IT cannot recover damages and, thus,

any alleged injury it suffers would not be redressable. Patent infringement damages

“assess ‘the difference between [the patentee’s] pecuniary condition after the

infringement, and what his condition would have been if the infringement had not

occurred.’” Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir.

2009) (quoting Yale Lock Mfg. Co. v. Sargent, 117 U.S. 536, 552 (1886)).

      Here, because IT does not practice the patent, any damage model proffered by

IT could only be based on a reasonable royalty. But IT cannot recover damages

under this model. Because Zebra (or any other third party) could have negotiated a

license from (and paid a royalty to Main Street), IT cannot prove that its financial

condition would have been better if (alleged) infringement had not occurred, i.e.,

that there is a “difference between [IT’s] pecuniary condition after the infringement,

and what [its] condition would have been if the infringement had not occurred.’”

Lucent, 580 F.3d at 1324. Because IT cannot recover damages (the only form of

relief it seeks), any alleged injury could not be redressed. IT lacks standing under

both the injury and redressability requirements.

                    a.     IT conflates constitutional standing and statutory
                           standing.

      As it did before the district court, IT erroneously conflates constitutional and

statutory standing, focusing on title to the patent.


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      IT contends that the district court erred in determining that “Zebra could have

obtained title to the ’247 Patent from Main Street” because the court also determined

that Main Street did not exercise the right to take title to the ’247 Patent. IT Br.

17-18. But the district court’s holding was not based on Zebra obtaining title—it

was based on “Main Street possess[ing] an unfettered right to license the ’247

patent.” Appx13.

      Similarly, IT relies on Aspex Eyewear, Inc. v. Miracle Optics, Inc., 434 F.3d

1336 (Fed. Cir. 2006), to argue that “[p]atent owners have standing even where a

third party has a ‘virtually unfettered right to sublicense’ the patent in suit.” IT Br.

22. But Aspex addresses statutory standing under Section 281, not Article III

standing. 434 F.3d at 1339. Neither “injury” nor “Article III” appear in the opinion.

      Statutory standing does not equate to Article III standing. An entity holding

legal title to a patent that does not have the right to exclude others from practicing

the claimed invention lacks Article III standing. Luminara, 814 F.3d at 1347

(“Under our precedent, only parties with exclusionary rights to a patent may bring

suit for patent infringement.”); Morrow, 499 F.3d at 1339 (“The party holding the

exclusionary rights to the patent suffers legal injury in fact under the statute.”).

“[P]arties are free to assign some or all patent rights as they see fit based on their




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interests and objectives, [but] this does not mean that the chosen method of division

will satisfy standing requirements.” Morrow, 499 F.3d at 1341 n.8.6

                   b.      IT’s attempt to distinguish cases based on the “present
                           grant” of rights is meritless.

      IT attempts to distinguish several cases relied on by the district court by

arguing that they involved a “present grant” and “immediate transfer of rights.” See

IT Br. 18-21 (discussing Uniloc 2017 LLC v. Google LLC, 508 F. Supp. 3d 556

(N.D. Cal. 2020); Uniloc USA, Inc. v. Motorola Mobility LLC, No. 17-CV-1658,

2020 WL 7771219 (D. Del. Dec. 30, 2020); Abraxis Bioscience, Inc. v. Navinta LLC,

625 F.3d 1359 (Fed. Cir. 2010)).

      IT’s arguments are meritless. When OnAsset defaulted, the 2011 Patent and

Trademark Security Agreement granted (and immediately transferred) rights in the

’247 Patent to Main Street. The transfer was not merely “an agreement to assign

rights in the future.” Abraxis, 625 F.3d at 1364 (citing Speedplay, 211 F.3d at 1253).

When the default occurred, the rights were actually transferred.             IT cannot

distinguish the cases on this ground.




6
  See also Alfred E. Mann Found. For Sci. Rsch. v. Cochlear Corp., 604 F.3d 1354,
1360 (Fed. Cir. 2010) (“[A]lthough all the various rights available under the patent
are initially held by the named inventor or inventors, they may, as a result of
licensing agreements and assignments, become separated and be held by multiple
individuals.”).

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                     c.    IT’s challenge to the district court opinion in Uniloc is
                           incorrect.

      IT also relies heavily on Judge Lourie’s separate opinion in Uniloc USA, Inc.

v. Motorola Mobility LLC, 52 F.4th 1340 (Fed. Cir. 2022), arguing that IT “did not

lose Article III standing even if the Court finds that Main Street could license the

’247 Patent on its own.” IT Br. 23-25.

      In Uniloc, Judge Lourie wrote separately to provide additional views. 52

F.4th at 1350-1352. His separate opinion mentions “Article III standing” only in

quoting the opinion of the court. Id. at 1351. The separate writing does not analyze

whether the requirements for Article III standing are satisfied by a patentee who

grants a third party an unfettered right to sublicense.

      Much of the separate writing concerns the contractual effect of a non-

exclusive license:

      The grant of a non-exclusive license with the right to sublicense, as
      here, gives the licensee the right to sublicense others. But the patentee
      still retains the right to sue unlicensed infringers. A non-exclusive
      license only grants a licensee freedom from suit; it does not divest the
      licensor of its right to sue or license other parties, or to practice the
      patent itself.

Id. at 1351. This is an accurate description of the contractual effects of non-

exclusive licenses (although, as detailed below, it is not true of the agreement

between OnAsset and Main Street). But Judge Lourie’s separate writing—like IT’s

brief—does not analyze the interaction of these contractual provisions with the



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Constitution’s requirements for standing. As set forth above, the district court

correctly considered the injury requirement and held that because Main Street had

the unfettered right to license the ’247 Patent, IT could not have suffered an injury-

in-fact that would give rise to Article III standing to sue for patent infringement.

      C.     Main Street Had Exclusive Rights to License and Sell the ’247
             Patent, Not Merely the Right to License.

      Moreover, this Court need not address whether merely granting a license with

the unfettered right to sublicense would deprive a patentee of standing. The rights

granted to Main Street in the 2011 Patent and Trademark Agreement upon OnAsset’s

default go far beyond the right to sublicense.

      OnAsset (and eventually IT) had the right to “control and manage the Patents

and Trademarks, including the right to exclude others from making, using or selling

items covered by the Patents” only “so long as no Default exist[ed].” Appx232. But

after the default, OnAsset lost those rights, and Main Street possessed the sole

authority to “sell, assign, transfer, pledge, encumber or otherwise dispose of the

Patents,” Appx232, a term defined to include selling licenses and seek damages,

Appx229.

      Main Street was thus nothing like the non-exclusive licensee discussed in

Judge Lourie’s Uniloc separate writing. Main Street—not IT—possessed “the right

to sue unlicensed infringers.” Uniloc, 52 F.4th at 1351 (Lourie, J., separate writing).

Upon default, the 2011 Patent and Trademark Security Agreement “divest[ed] [IT]


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of its right to sue or license other parties,” id., transferring that right to Main Street.

And, unlike Fortress’s sublicensing rights in Uniloc, which still required Uniloc’s

consent, Main Street’s licensing rights were completely unconstrained. See Uniloc

USA, Inc. v. Apple, Inc., No. 18-cv-00358, 2020 WL 7122617, at *7 (N.D. Cal. Dec.

4, 2020) (explaining that Fortress agreed “to seek the Unilocs’ consent before

granting sublicenses that would impose financial burdens on them”).

      Even if a patentee possesses constitutional standing after granting another

party the unfettered right to sublicense, a patentee undeniably lacks standing

where—as here—it grants another party the exclusive right to license (and the right

to sell the patent entirely). See id. (distinguishing exclusive and non-exclusive

licensees).

      As this Court has consistently explained, it is the violation of the exclusionary

rights in a patent that constitutes the injury-in-fact necessary for Article III standing.

Luminara, 814 F.3d at 1347 (“Under our precedent, only parties with exclusionary

rights to a patent may bring suit for patent infringement.”); Morrow, 499 F.3d at

1339 (“Constitutional injury in fact occurs when a party performs at least one

prohibited action with respect to the patented invention that violates these

exclusionary rights,” and “[t]he party holding the exclusionary rights to the patent

suffers legal injury in fact under the statute.”); Intell. Prop., 248 F.3d at 1346 (“A

party . . . that has the right to exclude others from making, using, and selling an



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invention described in the claims of a patent is constitutionally injured by another

entity that makes, uses, or sells the invention.”); Lone Star, 925 F.3d at 1234 (“We

have recognized that those who possess ‘exclusionary rights’ in a patent suffer an

injury when their rights are infringed.”).

      The right to exclude is the legal right to prevent others from practicing the

patent. Impression Prods. v. Lexmark Int’l, Inc., 581 U.S. 360, 374 (2017) (“The

right to use, sell, or import an item exists independently of the Patent Act. What a

patent adds—and grants exclusively to the patentee—is a limited right to prevent

others from engaging in those practices.”); Patterson v. Kentucky, 97 U.S. 501, 507

(1878) (“The sole operation of the statute is to enable him to prevent others from

using the products of his labors except with his consent.”). That exclusionary right

underscores the very definition of patent infringement: “whoever without authority

makes, uses, offers to sell, or sells any patented invention, within the United States

or imports into the United States any patented invention … infringes the patent.” 35

U.S.C. § 271(a) (emphasis added).

      When the “owner” of a patent has transferred the right to license the patent to

another, the owner no longer has the ability to exclude others from making, using,

offering to sell, selling, or importing into the United States the patented invention.

Those third parties could no longer acquire a license from the owner, and the

“owner” does not suffer injury in fact when third parties infringe. It is only “[t]he



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party holding the exclusionary rights to the patent” that “suffers legal injury in fact

under the statute.” Morrow, 499 F.3d at 1339.

      For these reasons, regardless of the correctness of the Uniloc district court

decisions, OnAsset’s default under the 2011 Patent and Trademark Security

Agreement deprived OnAsset (and thus IT) of Article III standing.

                     CONCLUSION & PRAYER FOR RELIEF
      This Court should affirm the district court’s judgment dismissing the case for

lack of standing.

      In the alternative, if this Court disagrees with the district court’s conclusion

regarding constitutional standing, this Court should remand for the district court to

consider Zebra’s arguments regarding statutory standing.




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Dated: April 24, 2023                    Respectfully submitted,

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              CERTIFICATE OF COMPLIANCE WITH RULE 32(A)
      1.      This brief complies with the type-volume limitations of Federal Rule of
Appellate Procedure 32(a)(7)(B) because this brief contains 6,502 words, excluding
the parts of the brief exempted by Federal Rule of Appellate Procedure 32(f).

       2.    This brief complies with the typeface requirements of Federal Rule of
Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of
Appellate Procedure 32(a)(6) because this brief has been prepared in a
proportionally spaced typeface using Microsoft Word 365 in Times New Roman 14
point font.


                                           /s/ William R. Peterson
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                                           Dated: April 24, 2023




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